                Case 22-11068-JTD   Doc 283-1   Filed 12/21/22   Page 1 of 4




                                      EXHIBIT A

                                     Proposed Order




{1368.002-W0069457.}
4867-6031-3411 v.4
                Case 22-11068-JTD             Doc 283-1        Filed 12/21/22        Page 2 of 4




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)

                                                              Ref No. __


    ORDER (A) AUTHORIZING THE DEBTORS TO ENTER INTO THE STIPULATION
       WITH VOYAGER DIGITAL, LLC AND (B) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”) 2 of FTX Trading Ltd. and its affiliated debtors

and debtors-in-possession (collectively, the “Debtors”), for entry of an order (this “Order”) (a)

authorizing the Debtors to enter into the Stipulation and (b) granting certain related relief; and

this Court having jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334 and

the Amended Standing Order of Reference from the United States District Court for the District

of Delaware, dated February 29, 2012; and this Court being able to issue a final order consistent

with Article III of the United States Constitution; and venue of these Chapter 11 Cases and the

Motion in this district being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter

being a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that proper

and adequate notice of the Motion and the relief requested therein has been provided in

accordance with the Bankruptcy Rules and the Local Rules, and that, except as otherwise ordered

herein, no other or further notice is necessary; and objections (if any) to the Motion having been

withdrawn, resolved or overruled on the merits; and a hearing having been held to consider the

1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
     list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX.
2
     Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.


{1368.002-W0069457.}                                    -1-
                Case 22-11068-JTD          Doc 283-1    Filed 12/21/22     Page 3 of 4




relief requested in the Motion and upon the record of the hearing and all of the proceedings had

before this Court; and this Court having found and determined that the relief set forth in this

Order is in the best interests of the Debtors and their estates; and that the legal and factual bases

set forth in the Motion establish just cause for the relief granted herein; and after due deliberation

and sufficient cause appearing therefor;

                  IT IS HEREBY ORDERED THAT:

                  1.     The Motion is GRANTED as set forth herein.

                  2.     The Debtors are authorized to enter into the Stipulation.

                  3.     The terms of the Stipulation, including the reservations of rights included

therein, are approved in their entirety.

                  4.     Except as expressly provided in the Stipulation or this Order, the

respective rights, claims, remedies or defenses of each Debtor and each Voyager Debtor, whether

relating to the Asset Purchase Agreement, the Deposit or otherwise, shall be reserved and

preserved in all respects.

                  5.     The failure to specifically include or reference any particular term or

provision of the Stipulation in this Order shall not diminish or impair the effectiveness of such

term or provision.

                  6.     The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

                  7.     The requirements set forth in Bankruptcy Rule 6004(a) are waived.

                  8.     This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6004(h) or otherwise.



{1368.002-W0069457.}                              -2-
                Case 22-11068-JTD      Doc 283-1       Filed 12/21/22    Page 4 of 4




                  9.   This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation of this Order.

Dated: ___________________
       Wilmington, Delaware                           The Honorable John T. Dorsey
                                                      United States Bankruptcy Judge




{1368.002-W0069457.}                            -3-
